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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                 Filed: January 17, 2018

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MARTHA-HELENE STAPLETON,   *
                           *
         Petitioner,       *                          No. 16-1362V
                           *                          Special Master Sanders
 v.                        *
                           *                          Dismissal; Insufficient Proof; Tetanus-
SECRETARY OF HEALTH        *                          Diphtheria-Pertussis (“Tdap”) Vaccine;
AND HUMAN SERVICES,        *                          Stillbirth
                           *
         Respondent.       *
* * * * * * * * * * * * * *

Diana Stadelnikas, Maglio Christopher and Toale, PA, Sarasota, FL, for Petitioner.
Sarah Duncan, U.S. Department of Justice, Washington, D.C., for Respondent.

                                            DECISION1

       On October 19, 2016, Martha-Helene Stapleton (“Petitioner”) filed a petition pursuant to
the National Vaccine Injury Compensation Program (“Vaccine Program”).2 42 U.S.C. §§ 300aa-
10 to -34 (2012). Petitioner alleged that a Tetanus-Diphtheria-Pertussis (“Tdap”) vaccination,
which she received on November 1, 2014 when she was 38 weeks pregnant, caused her “to suffer
from the loss of her child.” Pet. at 1-2, ECF No. 1. The information in the record, however, does
not show entitlement to an award under the Program.

       On January 17, 2018, Petitioner filed a Motion for a Decision Dismissing the Petition. ECF
No. 29. In the motion, Petitioner conceded that “she will be unable to prove that she is entitled to

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  This decision shall be posted on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a motion
for redaction must include a proposed redacted decision. If, upon review, the undersigned agrees
that the identified material fits within the requirements of that provision, such material will be
deleted from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755. Hereinafter,
for ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of
42 U.S.C. § 300aa (2012).

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compensation in the Vaccine Program.” Id. at 1. Petitioner’s motion states that “Respondent’s
counsel has no objection to th[e] motion.” Id. at 2.

        To receive compensation under the Program, Petitioner must prove either (1) that she
suffered a “Table Injury”—i.e., an injury falling within the Vaccine Injury Table—corresponding
to the vaccination, or (2) that she suffered an injury that was actually caused by a vaccine. See
§§ 13(a)(1)(A), 11(c)(1). An examination of the record did not uncover any evidence that
Petitioner suffered a “Table Injury.” Further, the record does not contain persuasive evidence that
her alleged injuries were caused by the Tdap vaccine.

       Under the Act, petitioners may not be given a Program award based solely on their claims
alone. Rather, the petition must be supported by medical records or the opinion of a competent
physician. § 13(a)(1). In this case, the medical records are insufficient to prove Petitioner’s claim,
and Petitioner has not filed a supportive opinion from an expert witness. Therefore, this case must
be dismissed for insufficient proof. The Clerk shall enter judgment accordingly.


       IT IS SO ORDERED.

                                               s/Herbrina D. Sanders
                                               Herbrina D. Sanders
                                               Special Master




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